         Case 1:18-cv-24100-MGC Document 37 Entered on FLSD Docket 10/15/2019 Page 1 of 3



                                                   U N IT E D ST A T E S D IST R IC T C O U R T
                                                   SO U T H E R N D IST R IC T OF F L O R ID A

                                            C A SE N O .: 18-CV -24100-CO O K E/G O O D M A N

            D IG N A V IN A S,

                       Plaintiff1,

            vs.

            T H E IN D E P E N D E N T O R D E R O F
            F O R E ST E R S,

                       Defendant.
            ___________________________________                    /

                  P L A IN T IF F ’ S M O T IO N TO S C H E D U L E H E A R IN G O U T S ID E A V A IL A B L E
                                               D IS C O V E R Y H E A R IN G T IM E

                       C O M E S NOW , Plaintiff, D igna Vinas (“V inas”), by and through her undersigned

            counsel, and moves this Honorable Court to set a hearing on a M otion to Schedule Hearing

            Outside Available Discovery Hearing Time and would state:

                       1.        This is a first party breach o f contract case as a result o f the Defendant’s failure

            to pay a life insurance claim. Defendant has denied the claim and seeks rescission o f the

            policy claiming the Decedent made material misrepresentations in the application. Plaintiff

            denies any material misrepresentation and will establish the policy would have been issued

            and was, in fact, issued with actual or constructive knowledge o f Mr. V inas’ complete medical

            history.

                       2.        Plaintiff has scheduled the depositions o f five o f Defendant’s employees who

            were involved in the claims and underwriting aspects o f the policy for January 2019.1




                   1       The parties have set aside the week o f January 15-17, 2020 and the week o f January
            29-31, 2020 and will make a final decision based upon logistical factors.


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                        3.         The above depositions were originally scheduled to take place during the week

            o f October 14, 2019, however, Defendant, recently, during the week o f September 16, 2019,

            advised that two o f its employees that need to be deposed were no longer employed by

            Foresters and that Defendant would not produce them for deposition.                                                     Defendant has,

            similarly refused to provide these witnesses addresses and phone numbers so the Plaintiff may

            subpoena the witnesses for deposition or otherwise arrange for their attendance.2

                       4.          Subpoenaing a witness with a U .S. Federal Court Subpoena, to attend a

            deposition in Canada, is a time-consuming process, the first step o f which is to obtain contact

            information for the witness to be subpoenaed.

                        5.        The Court’s only availability in October to address this matter was October

             11th, a date defense counsel was unavailable to attend a hearing. The Court’s next availability

            was not until the end o f November, which Plaintiff is concerned will not have sufficient time

            for Plaintiff to go through the international process o f subpoenaing the relevant witnesses for

            deposition.3

                       W H ER EFO R E, for the reasons set forth above, Plaintiff, Digna Vinas, respectfully

            requests this Court issue an Order Scheduling a Discovery Hearing in front o f Magistrate

            Judge Goodm an outside the current available discovery hearing schedule.




                   2 Providing contact information including the witnesses’ “name, home address,
            telephone number and title (if no longer employed by the Defendant) would be a supplemental
            response to an express question asked by Plaintiff in interrogatory number 2A propounded
            on M ay 23, 2019. (See attached Exhibit “A ”).

                   3 While there are other discovery issues to be addressed, they are not imminent as is
            the present matter, so as to support a request for an expedited hearing.
                                                                                    2


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                                                     S.D . Fla. L .R . 7.1(a)(3) Certificate

                      Undersigned counsel certifies that counsel for Defendant has been contacted with

           respect to the relief requested herein and is authorized to represent that the Defendant opposes

           the Motion as drafted.

                                                        CERTIFICATE OF SERVICE

                   I H E R E B Y C E R T IF Y that on October 15, 2019, the undersigned electronically filed
           the foregoing document with the clerk o f the Court using C M /E C F . The undersigned also
           certifies that the foregoing document is being served this date to Kristina B. Pett, Riley
           Kennedy, Esq., M cD ow ell Hetherington L L P , 2101 N.W . Corporate Blvd. Suite 316, Boca
           Raton, F L 33431, kristina.pett@mhllp.com. rilev.kennedv@mhllp.com.

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                                                                                     and

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